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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                           PLAINTIFF

v.                                No. 4:11CR00156-19 JLH

JOSHUA A. HAWLEY                                                                 DEFENDANT

                                           ORDER

       Pending before the Court is defendant Joshua A. Hawley’s unopposed motion for continuance

of revocation hearing currently set for Wednesday, December 4, 2013. The motion is GRANTED.

Document #681.

       The supervised release revocation hearing for defendant Joshua A. Hawley is hereby

rescheduled for FRIDAY, DECEMBER 20, 2013, at 10:30 A.M., in Courtroom #4-D, Richard

Sheppard Arnold United States Courthouse, 500 West Capitol Avenue, Little Rock, Arkansas.

Document #661.

       IT IS SO ORDERED this 3rd day of December, 2013.



                                                   _________________________________
                                                   J. LEON HOLMES
                                                   UNITED STATES DISTRICT JUDGE
